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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 5:23cr23/TKW

HELEN CHRISTINE JONES
______________________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, HELEN CHRISTINE JONES, to Count One of the Indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

       DONE and ORDERED this 6th day of October 2023.

                                T. Kent Wetherell, II
                               T. KENT WETHERELL, II
                               UNITED STATES DISTRICT JUDGE
